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10 Attorneys for Plaintiff,
   Shonda Howard
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12
13                        UNITED STATES DISTRICT COURT
14                     SOUTHERN DISTRICT OF CALIFORNIA
15
16 Shonda Howard,                           Case No.: '15CV0778 JAH RBB
17
                  Plaintiff,                COMPLAINT FOR DAMAGES
18
19       vs.                                1. VIOLATION OF FAIR DEBT
                                            COLLECTION PRACTICES ACT,
20 Midland Credit Management, Inc.,         15 U.S.C. § 1692 ET SEQ.;
21
                  Defendant.                JURY TRIAL DEMANDED
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23
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28
                                                       COMPLAINT FOR DAMAGES
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 1         For this Complaint, the Plaintiff, Shonda Howard, by undersigned counsel,
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     states as follows:
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 4                                      JURISDICTION

 5         1.     This action arises out of Defendant’s repeated violations of the Fair Debt
 6
     Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).
 7
           2.     Original jurisdiction exists pursuant to 28 U.S.C. § 1331.
 8
 9         3.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that
10
     Defendant transacts business here and a substantial portion of the acts giving rise to
11
     this action occurred here.
12
13                                          PARTIES
14         4.     The Plaintiff, Shonda Howard (hereafter “Plaintiff”), is an adult
15
     individual residing in New Orleans, Louisiana, and is a “consumer” as the term is
16
17 defined by 15 U.S.C. § 1692a(3).
18         5.     The Defendant, Midland Credit Management, Inc. (hereafter “Midland”),
19
     is a company with an address of 8875 Aero Drive, Suite 200, San Diego, California
20
21 92123 , operating as a collection agency, and is a “debt collector” as the term is
22 defined by 15 U.S.C. § 1692a(6).
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                                               2                COMPLAINT FOR DAMAGES
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 1                  ALLEGATIONS APPLICABLE TO ALL COUNTS
 2
     A.    The Debt
 3
           6.     A financial obligation (the “Debt”) was allegedly incurred to an original
 4
 5 creditor (the “Creditor”) by “Whitey”, a person who is not a party to this lawsuit (the
 6
     “Debtor”).
 7
           7.     Upon information and belief, the Debt arose from services provided by
 8
 9 the Creditor which were primarily for family, personal or household purposes and
10
     which meets the definition of a “debt” under 15 U.S.C. § 1692a(5).
11
           8.     Upon information and belief, the Debt was purchased, assigned or
12
13 transferred to Midland for collection, or Midland was employed by the Creditor to
14
     collect the Debt.
15
16         9.     The Defendant attempted to collect the Debt and, as such, engaged in

17 “communications” as defined in 15 U.S.C. § 1692a(2).
18
     B.    Midland Engages in Harassment and Abusive Tactics
19
20         10.    Within the last year, Midland contacted Plaintiff in an attempt to collect

21 the Debt.
22
           11.    When contact was made, Midland asked to be connected to the Debtor.
23
24         12.    Plaintiff is not the Debtor, does not know the Debtor, and has no

25 responsibility for repayment of the Debt.
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                                               3                COMPLAINT FOR DAMAGES
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 1         13.    During a live conversation with Midland, Plaintiff advised Midland that
 2
     it was calling the wrong number and that the Debtor was unknown to Plaintiff.
 3
 4         14.    Plaintiff further requested that Midland cease all calls.

 5         15.    Despite Plaintiff’s unequivocal explanation and request, Midland
 6
     continued calling Plaintiffs at an excessive and harassing rate.
 7
 8 C.      Plaintiff Suffered Actual Damages
 9         16.    The Plaintiff has suffered and continues to suffer actual damages as a
10
     result of Defendant’s conduct.
11
12         17.    As a direct consequence of the Defendant’s acts, practices and conduct,
13 Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional
14
   distress, fear, frustration and embarrassment.
15
16                               COUNT I
         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
17                         15 U.S.C. § 1692, et seq.
18
           18.    The Plaintiff incorporates by reference all of the above paragraphs of this
19
20 Complaint as though fully stated herein.
21         19.    Defendant contacted Plaintiff in regards to the third party’s debt on
22
     numerous occasions, without being asked to do so, in violation of 15 U.S.C. §
23
24 1692b(3).
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                                               4                 COMPLAINT FOR DAMAGES
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 1         20.     Defendant engaged in behavior the natural consequence of which was to
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     harass, oppress, or abuse the Plaintiff in connection with the collection of a debt, in
 3
 4 violation of 15 U.S.C. § 1692d.
 5         21.     Defendant caused a phone to ring repeatedly and engaged the Plaintiff in
 6
     telephone conversations, with the intent to annoy and harass, in violation of 15 U.S.C.
 7
 8 § 1692d(5).
 9         22.     Defendant used an unfair and unconscionable means to collect the debt,
10
     in violation of 15 U.S.C. § 1692f.
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12         23.     The foregoing acts and omissions of the Defendant constitute numerous
13 and multiple violations of the FDCPA, including every one of the above-cited
14
   provisions.
15
16         24.     The Plaintiff is entitled to damages as a result of the Defendant’s
17 violations.
18
19                                     PRAYER FOR RELIEF
20         WHEREFORE, the Plaintiff prays that judgment be entered against the
21
     Defendants:
22
23                 A. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
24                 B. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);
25
                   C. Costs of litigation and reasonable attorneys’ fees pursuant to 15 U.S.C.
26
27                    § 1692k(a)(3);
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                                                5                 COMPLAINT FOR DAMAGES
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 1             D. Punitive damages; and
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               E. Such other and further relief as may be just and proper.
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 4
                  TRIAL BY JURY DEMANDED ON ALL COUNTS
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 6
 7 DATED: April 9, 2015                         TRINETTE G. KENT
 8
                                                By: /s/ Trinette G. Kent
 9                                              Trinette G. Kent, Esq.
10                                              Lemberg Law, LLC
                                                Attorney for Plaintiff, Shonda Howard
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                                            6                 COMPLAINT FOR DAMAGES
